                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )
v.                                           )       Case No. 4:10-CR-00332-BCW-2
                                             )
TERESA BROWN,                                )
                                             )
                      Defendant.             )


                                            ORDER

       Before the Court is Magistrate Judge Sarah W. Hays’ Report and Recommendation (Doc.

#239) acknowledging Defendant’s Stipulation to Facts and Findings of Psychiatric Evaluation

Report and Waiver of Competency Hearing (Doc. #234). Neither party filed objections to the

Report and Recommendation (Doc. #239).           After an independent review of the record, the

applicable law, and the parties’ arguments, the Court adopts the Magistrate’s findings of fact and

conclusions of law. Accordingly, it is hereby

       ORDERED the Magistrate’s Report and Recommendation (#239) be attached to and

made part of this Order, and the Court acknowledges and adopts Defendant’s Stipulation to Facts

and Findings of Psychiatric Evaluation Report and Waiver of Competency Hearing (Doc. #234).

       IT IS SO ORDERED.




DATED: October 31, 2012                              /s/ Brian C. Wimes
                                                     JUDGE BRIAN C. WIMES
                                                     UNITED STATES DISTRICT COURT




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